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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

          BEFORE THE HONORABLE EDWARD M. CHEN, JUDGE


SAMIR SAIRAM, M.D., an         )
individual; SAMIR SAIRAM, M.D.,)
INC., a California professional)
corporation;                   )
                               )
           Plaintiffs,         )
                               )
  VS.                          )      No. C 21-4335 EMC
                               )
MERCY RETIREMENT AND CARE      )
CENTER, a California           )
corporation; TAMRA MARIE       )
TSANOS, an individual,         )
                               )
           Defendants.         )
                               )      San Francisco, California
                                      Thursday, January 13, 2022


          TRANSCRIPT OF PROCEEDINGS VIA ZOOM WEBINAR

APPEARANCES:   (via Zoom Webinar)

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Reported By:      Katherine Powell Sullivan, CSR #5812, CRR, RMR
                  Official Reporter - U.S. District Court
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1    Thursday - January 13, 2022                            1:31 p.m.

2                            P R O C E E D I N G S

3                                  ---000---

4              THE CLERK:    Calling Samir Sairam, et al. versus Mercy

5    Retirement and Care Center, et al., case number 21-4335.

6         Counsel please state your appearance.

7              MR. GAWLEY:    Thank you.    My name is Michael Gawley,

8    G-A-W-L-E-Y, and I'm an attorney for the plaintiffs in the

9    Sairam versus Mercy litigation.

10             THE COURT:    All right.    Thank you, Mr. Gawley.

11             MS. MALKOFSKY:    And Good afternoon, Your Honor.          My

12   name is Laura Malkofsky, and I am attorney for defendants Mercy

13   Retirement Care Center and Ms. Marie -- sorry, Tamra Marie

14   Tsanos.

15             THE COURT:    All right.    Thank you, Ms. Malkofsky.

16        Let me ask you, Mr. Gawley, I issued a prior ruling on

17   RICO.   What's different with this new amended complaint that

18   you think materially changes the analysis here?

19             MR. GAWLEY:    Well, I think we've added allegations to

20   clarify both the relatedness of the predicate acts, we've

21   alleged additional predicate acts, and we've also clarified why

22   we believe there's continuity.

23        We've also addressed the issues raised in the Court's

24   prior ruling on the motion to dismiss and clarified why we

25   think we've stated an adequate claim.
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1             THE COURT:    Well, let's talk about the pattern of

2    racketeering activity and the plausibly related.

3         I guess I have trouble seeing how the host termination

4    letters, the interference, the falsities, the alleged falsities

5    that disrupted the relationship with Dr. Sairam and the

6    patients, which was after the fact, that is after his

7    termination, how is that related to -- how does that further

8    the scheme of obtaining money from the federal government?

9             MR. GAWLEY:    Yes, and I think this is a really crucial

10   distinction from the prior cases where there's been a

11   whistleblower who's then terminated and brings a RICO claim.

12        Here, Dr. Sairam wore two hats.      He was a medical

13   director -- and that's what Mercy terminated, essentially, his

14   administration functions -- but he is also an attending

15   physician for patients at Mercy.      And he is still treating

16   patients at Mercy and has continued to do so even after they

17   terminated his medical directorship.

18        So one way they are trying to push Dr. Sairam out was the

19   termination of his medical directorship.       The ongoing pattern

20   of trying to push him out and using wire and mail to do that is

21   part and parcel of their scheme.

22        So we don't have a situation where his relationship with

23   the entity is totally cut off; it's still ongoing.         And, in

24   fact, many of his patients that initially left after the first

25   instance of Mercy interference have come back to him, and sort
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1    of further creating more facts to show that he's going to be

2    there and he's still there, and that's why their ongoing effort

3    after the termination of the medical directorship is important.

4             THE COURT:    But what ability does he have to thwart

5    this -- this fraudulent medical billing, if he's no longer the

6    medical director and he is an attending physician, and the fact

7    that he had already, you know, I mean, didn't it -- now that

8    he's been terminated from the directorship, not only does he --

9    I'm not even sure what access he has to billing practices and

10   this sort of thing.

11        And so what threat is he as an attending physician and not

12   as a medical director?

13            MR. GAWLEY:    His threat is his insistence on

14   compliance with healthcare regulations and law and his

15   insistence that Mercy does so as well.

16        He can do that as an attending physician for his patients.

17   And he can, you know, advocate.      He can't control policy as he

18   could when he was a medical director, but he can advocate and

19   make Mercy on notice that they have to comply with those laws

20   which are more onerous and more expensive.

21            THE COURT:    All right.    Do you have a response to

22   that, Ms. Malkofsky?

23            MS. MALKOFSKY:    I do, Your Honor.     Thank you.

24        First of all, just as a side note, it appears that

25   Mr. Gawley has acknowledged that Dr. Sairam has increased his
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1    patients, apparently, that are now at Mercy.          So if, indeed,

2    there was an alleged RICO that's attempting to terminate his

3    presence entirely from Mercy, apparently we were very

4    unsuccessful at that.

5          But the main point here is that although these arguments

6    were tweaked between the First Amended Complaint and the Second

7    Amended Complaint, the facts were not.

8          There are no new facts, because there aren't any that

9    exist, as to what exactly Mercy, the defendant, as opposed to

10   any individuals who are also practitioners who have patients at

11   Mercy, allegedly did with respect to fraudulent billing.

12         There is simply not a single fact in the Second Amended

13   Complaint that states that Mercy submitted false billing to the

14   federal government and that it's continuing to do so.           It's

15   just a vehicle that is being argued now to rationalize this

16   RICO cause of action which, in turn, is simply being alleged

17   for the purpose of seeking treble damages.

18         This is a wrongful termination case, allegedly, and that's

19   it.   And the creation of this, quote-unquote, RICO activity

20   while is described in vague conclusory terms in the allegations

21   of the Second Amended Complaint, there are no facts supporting

22   it.   And that is what the Court needs to look at when it's

23   evaluating the adequacy of the Second Amended Complaint.

24              THE COURT:    You've raised a slightly different

25   question, and that is whether there is any fraud by Mercy as
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1    opposed to physicians, which I want to get to in a second.

2          But assuming there is some claim of Mercy's involvement or

3    profiting from this, what's your response to the argument that,

4    well -- my prior ruling that, well, there's no nexus between

5    the letters that went out to the patients and the underlying

6    fraud against the Government, they're two different things, and

7    there's no evidence that the latter or that the letters to the

8    patients was meant to further the scheme or the coverup?

9          Because, you know, he had already been terminated at that

10   point.    And then the comeback is, well, he hadn't been

11   completely terminated, and as an attending physician he is

12   still in a position to advocate, and by driving him out

13   completely they could get rid of this potential threat.

14              MS. MALKOFSKY:    Well, Your Honor, for one thing,

15   there's not letters plural.       There is one letter that went out,

16   that asked the patients of Dr. Sairam, who reside at Mercy,

17   whether or not they wanted to continue working with him or not.

18   That's it.

19         Then the other allegations, if you even want to call them

20   that, are again just these vague conclusory allegations that

21   reported things to Mercy, to these unidentified people, and

22   even after he was terminated, and that nothing was done about

23   it.

24         Again, it's just a rationalization.        There is no scheme

25   that has been factually alleged to even have occurred.
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1             THE COURT:    All right.    Well, let me ask, Mr. Gawley,

2    I mean, if your theory, your enhanced theory or new theory

3    that, well, there was still an attempt to squelch his

4    whistleblowing, but all we have is -- whether it's one letter

5    or two letters, they are close in time, there's no allegation

6    of anything else that was done to try to continue to squelch

7    him and to stop the whistleblowing.      Nor is there any

8    allegation that he attempted to do any more whistleblowing

9    after this letter went out, right, these letters, one or two

10   letters went out to the patients.

11            MR. GAWLEY:    That's not quite true, Your Honor.

12        The Second Amended Complaint alleges a letter to patients

13   in January of 2021 that says Dr. Sairam is no longer the

14   medical director and misleading patients into thinking he can't

15   provide their care as an attending physician.

16        They sent an email to Dr. Sairam on February 2nd telling

17   him they're going to transfer his patients.

18        They sent an email to him on February 9th telling him,

19   again, they were going to transfer his patients.

20        On February 11th they threatened to bar him from the

21   premises by email.

22        In February they sent another letter to patients

23   misleadingly saying that they had to choose between Dr. Sairam

24   and Dr. Dhugga.

25        In June of 2021, they emailed Dr. Sairam about a new
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1    policy permitting the medical director to reassign his

2    patients, for which he was the attending physician.

3         On June 4th they sent another email telling Dr. Sairam

4    that he can no longer submit orders for his patients by email.

5    They sent that to him by email.

6         And on September 23rd, 2021, they sent Dr. Sairam another

7    letter claiming that he failed to comply with COVID-19

8    protocols and threatening to bar him from the facility.

9         We then filed the amended complaint in early October.

10   This is a consistent pattern of them trying to push him out and

11   using wire and mail to do so.

12        And in terms of Mercy's billing, the allegations for their

13   billing, I'm happy to address that if the Court --

14            THE COURT:    Well, emails to him are not allegedly

15   fraudulent.   The two fraudulent emails are the communication to

16   the patients.

17            MR. GAWLEY:    Well, not quite, Your Honor.       In order to

18   be actionable for mail or wire fraud, it simply has to be an

19   email or wire in furtherance of the scheme.        The actual content

20   of the communication itself need not be fraudulent and you need

21   not rely on it.   But so long as you use mail or wire to further

22   a fraudulent scheme, which we've alleged, that satisfies the

23   mail/wire fraud statute.

24            THE COURT:    Well, and your theory is this was all done

25   to squelch him from making any more statements or from making
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1    any statements or whistleblowing?

2             MR. GAWLEY:    It's to get him out of the facility to

3    enable Mercy to continue its pattern and practice of billing

4    the Government while not complying with healthcare regulations.

5             THE COURT:    What evidence is there of continuing --

6    during this saga, starting after his termination in January up

7    through these various letters and emails, what allegation is

8    there of continuing fraud by Mercy --

9             MR. GAWLEY:    Well, the fraud, the predicate fraud is

10   the failure to comply with applicable healthcare regulations.

11   And here it's the California and federal regulations permitting

12   patients to select their attending physicians and giving

13   attending physicians the right to treat their patients free

14   from interference from the facility.

15            THE COURT:    So it's no longer the fraud of making

16   false billings --

17            MR. GAWLEY:    No.

18            THE COURT:    -- but the representation that they're not

19   complying with regs by interfering with Dr. Sairam's

20   relationship with his clients?

21            MR. GAWLEY:    That is the false billing.      And I think

22   that's the key here.    And that is where I think referring to

23   paragraph 77 of the complaint in the footnote that really sort

24   of explains this and sets this out in detail.

25        As a condition of payment, Mercy, as a skilled nursing
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1    facility, has to complete every year and submit electronically

2    a CMS Form 2540-10.       This says that Mercy certifies that their

3    representatives are familiar with all of the laws and

4    regulations governing the provision of healthcare services and

5    that all the services therein are provided in compliance with

6    those laws.

7            Their interference with Dr. Sairam is a violation of

8    applicable laws for the provision of healthcare services.                By

9    them submitting this form to the Government, they are

10   submitting a false claim that is actionable under the wire

11   fraud statute through this RICO.

12               THE COURT:    So every noncompliance, not just

13   submitting for false billings but anytime you certify, isn't

14   there -- that gets us in a whole area of case law, this whole

15   certification question whether that constitutes wire fraud or

16   not, because that's such a broad theory.

17           Because it's very common to say, I certify -- anytime you

18   get any kind of federal funds you say, I'm complying with the

19   law.     Well, you might be violating a Labor Code provision, an

20   hourly thing.      You might be violating some environmental

21   technical thing.       It's not so clear to me that that's wire

22   fraud.

23               MR. GAWLEY:    Yes.   I think what distinguishes our case

24   from the line of cases that says sort of unknown, you know,

25   small technical violations aren't going to constitute wire
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1    fraud is, here, in February we put Mercy on notice that:

2    You're interfering with Dr. Sairam's right to treat patients,

3    and you're certifying to the federal government that you're

4    complying with these laws.     So stop interfering because that

5    puts you out of compliance.

6         They continued to interfere pretty regularly from when

7    Dr. Sairam was terminated as medical director up through the

8    filing of the Second Amended Complaint.

9             THE COURT:    So your theory is that the -- is it wire

10   fraud or mail fraud?    The mail fraud is the certification

11   problem to the federal government not -- not the billing

12   practices of the doctors; is that right?

13            MR. GAWLEY:    Correct.

14            THE COURT:    All right.    What's your response to that,

15   Ms. Malkofsky?

16            MS. MALKOFSKY:     Your Honor, first of all, that

17   argument was not even raised in the opposition papers.          The

18   opposition papers continuously talk about the fraudulent

19   billing practices, and that's all that it focuses on.

20        Secondly, half of -- at least half of the emails and

21   letters that counsel just referred to, that took place between

22   Dr. Sairam's termination and the filing of the Second Amended

23   Complaint, were adopted by attorneys for both parties.

24        And that is actually set forth very distinctly in the

25   complaint that it was -- there's every single email or letter
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1    that was sent by counsel.        It actually says in parentheses

2    "sent by counsel."

3         So I don't understand how Mercy can be held responsible

4    for letters and emails that its counsel are drafting and

5    sending.

6         Secondly, this paragraph 77 that counsel refers to, that

7    was in the First Amended Complaint.       So Your Honor didn't find

8    it to have supported the RICO cause of action in the First

9    Amended Complaint.      It's not a change in the Second Amended

10   Complaint.    That was there before.

11        So it kind of boggles the mind that all of a sudden we're

12   changing theories again and it's not fraudulent billing by the

13   practitioners but now it's this one certification that is now

14   the center of the RICO activity when it was barely mentioned

15   previously.

16              THE COURT:    Mr. Gawley, tell me where in your

17   opposition you allege that the -- that the wire fraud is the

18   certification.   Where in the complaint.

19              MR. GAWLEY:    In the complaint?

20              THE COURT:    Yeah.

21              MR. GAWLEY:    In paragraph 77, which is on page 18.

22              THE COURT:    And that's it?    Just paragraph 77?    Is it

23   that you're hinging everything on paragraph 77?

24              MR. GAWLEY:    And footnote 2, yes.

25              THE COURT:    Well, isn't that -- so that is a major
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1    shift from your theory.

2               MR. GAWLEY:    No, Your Honor.

3               THE COURT:    Certainly from your original theory, isn't

4    it?

5               MR. GAWLEY:    No, Your Honor.

6           Our original theory -- so there's two things to remember.

7    When Dr. Sairam reports that physicians are overcharging, and

8    he tells Mercy that, that's not imputing the physician's false

9    claim to Mercy.      That's putting Mercy on notice that they have

10   physicians there who are not following the billing guidelines.

11          That's not the false claim that we based our First Amended

12   Complaint on or the original complaint.         Our theory has always

13   been that there is a certification that Mercy has to make to

14   the federal government that it complies with applicable law,

15   and that they have not done so.        The primary violation here is

16   their failure to honor the rules that govern the relationship

17   between patients and physicians.

18          It didn't come up in prior briefing because this argument

19   that Mercy made in this new motion to dismiss, that we don't

20   even allege that they filed a false claim with the Government,

21   that's new.     That's why it hasn't been discussed before now --

22              THE COURT:    So your theory is that the violation is,

23   number one, they interfered improperly with patient-physician

24   relationship to the detriment of Dr. Sairam; two, they

25   certified it falsely to the Government.
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1              MR. GAWLEY:    Yeah.

2              THE COURT:    It actually doesn't matter whether there

3    were fraudulent billing, inflated billing practices,

4    unnecessary medical, all that's just really -- it's not

5    necessary to this case; right?

6              MR. GAWLEY:    Well, it's not necessary to the RICO

7    action.   And this is why it's not a False Claims Act case.

8              MS. MALKOFSKY:    May I interject a question?

9              THE COURT:    Sure.

10             MS. MALKOFSKY:    I don't even understand -- the --

11   plaintiff is not alleging that Mercy was the one submitting the

12   fraudulent billing.

13        How would it be Mercy's responsibility to be reporting

14   something related to private practitioners doing their own

15   billing, just as Dr. Sairam admits in his complaint he does his

16   own billing through his corporation?

17        So how Mercy is even involved in that aspect of this

18   paragraph 77 allegation, which again was part of the original

19   complaint, it's just -- it's not new.       It's not specified as

20   interstate wire fraud, by the way.       We haven't reached that

21   discussion yet.    But the allegations with respect to

22   specificity of interstate wire fraud are absent from the Second

23   Amended Complaint as well.

24        But Mercy's responsibility -- I mean, there's no

25   allegations that Mercy is responsible for reporting what every
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1    one of its individual practitioners that might walk into its

2    doors to treat one of its patients is doing.        It can't possibly

3    be responsible for dealing with other people's individual

4    billing practices.

5             THE COURT:    As I understand, the theory is that to the

6    extent that Mercy submitted claims for payment to it -- and

7    this is different from the doctors' claims for inflated

8    services -- even if it's for some whatever, some reimbursement

9    or whatever it is that it gets reimbursed -- and I take it

10   there's an allegation that Mercy did submit claims on its own,

11   not in connection with these medical services that were

12   inflated; correct?

13            MR. GAWLEY:    Correct.

14            THE COURT:    And that that -- and sort of any

15   submission of paying for a payment, even if it's not the

16   doctors' services that were allegedly fraudulent, contain a

17   certification that, "We comply with all laws and regulations,"

18   and to the extent they didn't comply with all laws and

19   regulations and knew it, that's the fraud.        That's the theory;

20   right, Mr. Gawley?

21            MR. GAWLEY:    Correct.

22            MS. MALKOFSKY:     But the Second Amended Complaint is

23   absent of facts supporting that, quote-unquote, theory.

24            THE COURT:    Well --

25            MS. MALKOFSKY:     There's not a mention of a single
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1    specific fact supporting that theory.

2             THE COURT:    I'll let you respond to that, then I'm

3    going to conclude this hearing, Mr. Gawley.

4         So I've got 77 that provides the legal framework, although

5    in a somewhat indirect way.     Where's the allegation, number

6    one, of payments to Mercy and, two, facts that show

7    noncompliance with, quote, the laws and regulations regarding

8    healthcare services?

9             MR. GAWLEY:    Yes.   So in terms of Mercy's submission

10   of claims to the federal government and receiving payment, that

11   again is in paragraph 77, that Mercy submitted claims for

12   payment to the federal government despite patterns of legal

13   violations.

14        If the Court needs clarity and wants us to add a paragraph

15   or facts that Mercy is a skilled nursing facility that bills

16   Medicare, and it gets paid by the per patient per day, we're

17   happy to do that.    And I don't think Mercy can get around those

18   allegations.   That's a clarity that we can provide that I think

19   is not controversial.

20        In terms of the pattern of legal violations, the factual

21   predicates are in the body of the complaint.        But, actually, if

22   you go down to the UCL cause of action on -- starting on page

23   20, there's a list of unlawful actions, the specific laws that

24   they violated, including the retaliation by terminating him

25   from medical directorship, overriding his medical
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1    decision-making authority, interfering with the residents'

2    right to choose their attending physician, failing to ensure

3    that all Dr. Sairam's orders are lawfully submitted and carried

4    out.

5            And what makes this different from the -- the body of case

6    law that says maybe not every little violation is wire fraud,

7    Mercy was put on notice for each one of these, and it continued

8    to try to push Dr. Sairam out.

9            So this is not an unknowing system of certifying

10   compliance.      This is them violating and knowingly violating

11   these laws and continuing to violate them and at the same time

12   certifying compliance with them to the federal government.

13           And I want to note that these are not tiny provisions in

14   the law.     A patient's right to choose their physician is not

15   just a common law right, but it's included in what is called

16   the skilled nursing facility Patient Bill of Rights.            It's an

17   important aspect of their rights as a patient at Mercy --

18               THE COURT:    Let me ask you one last question,

19   Mr. Gawley.      What's your strongest case authority that holds

20   that violation of law and then certifying, contrary to those

21   violations of law, that you're complying with the law and

22   getting payment constitutes a kind of pattern of racketeering

23   that is RICO?

24           Because they're intimately related.        You're saying once

25   you do something and then you certify that you're not doing
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1    something, even though it's kind of the two sides of the same

2    coin, you're saying that's a pattern of racketeering.          What's

3    the best case for that?

4               MR. GAWLEY:    I was just looking at it.     One moment.

5    Apologies while I pull it up.

6         So I think the Ikuno case is a good case.         It's 912 --

7               THE COURT:    Is this cited in your brief?

8               MR. GAWLEY:    Yes, it is.   Ikuno v. Yip.    I-K-U-N-O

9    versus Y-I-P.   And the idea is they're filing false annual

10   reports.   And there's no indication that it will stop, and so

11   they found that there's an adequate RICO violation there.

12              THE COURT:    Does that address continuity or does that

13   address a pattern?

14              MR. GAWLEY:    That addressed continuity.

15              THE COURT:    What about pattern?

16              MR. GAWLEY:    I think the pattern is more -- I haven't

17   seen a case that says that the certification theory is

18   insufficient for a pattern in the RICO context.

19        I think it arises a lot in the false claims context

20   because there's a concern that the individual -- False Claims

21   Act is more concerned with individual claims than RICO, which

22   is more concerned with sort of a scheme.        But I don't have a

23   case that's on point here.

24              THE COURT:    All right.   I will take the matter under

25   submission.   Thank you.
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1               MS. MALKOFSKY:   Your Honor --

2               THE COURT:    Yeah.

3               MS. MALKOFSKY:   Are we addressing the -- sorry, the

4    causes of action with respect to Ms. Tsanos at this point?

5               THE COURT:    I will in my papers.    I have your briefing

6    on that.   Thank you.

7               MS. MALKOFSKY:   Thank you.

8               MR. GAWLEY:   Thank you, Your Honor.

9               THE COURT:    Thank you.

10        I think I have to decide this critical question.          I was

11   going to ask you whether there's any utility to referring this,

12   in terms of ADR, but I think I'm going to have to resolve this.

13   This is such a major juncture in the road that what I'll do is

14   I will schedule a further follow-up case management conference

15   once I resolve this threshold question.

16              MS. MALKOFSKY:   Thank you, Your Honor.

17              THE COURT:    Thank you.

18        (At 2:00 p.m. the proceedings were adjourned.)

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2                          CERTIFICATE OF REPORTER

3             I certify that the foregoing is a correct transcript

4    from the record of proceedings in the above-entitled matter.

5    DATE: Monday, January 31, 2022

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9             ______________________________________________

10            Katherine Powell Sullivan, CSR #5812, RMR, CRR
                            U.S. Court Reporter
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